     3:06-cr-00748-JFA          Date Filed 10/15/21        Entry Number 1360           Page 1 of 22




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA


UNITED STATES OF AMERICA                )                          CR No.: 3:06-748-JFA
                                        )
v.                                      )                      MEMORANDUM OPINION
                                        )                          AND ORDER
DARIUS BELLE                            )
_______________________________________ )

        The defendant, Darius Belle, pleaded guilty before this court in August 2007 to being

part of a drug trafficking conspiracy involving 50 grams or more of crack cocaine. Because

he had murdered a fellow drug dealer who had stolen drugs from him during the course of

the conspiracy, the defendant’s sentencing calculation involved a murder cross-reference

under the United States Sentencing Guidelines (USSG). This court sentenced the defendant

to 400 months incarceration.

        In a pro se motion filed on December 4, 2020 (ECF No. 1334), the defendant sought

release to home confinement because of the COVID-19 pandemic and the potential threat to

his health due to his heart murmur. This court denied the motion without prejudice because

the defendant had not exhausted his administrative remedies with the Bureau of Prisons

(BOP).

        The defendant filed a second pro se letter/motion (ECF No. 1337) which simply asked

the court if he was eligible for the Fair Sentencing Act. He then filed another motion (ECF

No. 1343) through counsel1 to compel the government to reduce his sentence a second time

        1
           Attorney Tynika Claxton was appointed to represent the defendant in his 2006 criminal case before
this court. In the present motion, counsel seeks reappointment under the Criminal Justice Act. This court

                                                     1
     3:06-cr-00748-JFA         Date Filed 10/15/21        Entry Number 1360          Page 2 of 22




under Rule 35. Alternatively, the defendant moves for compassionate release under the First

Step Act and 18 U.S.C. § 3582(c)(1)(A)(i). He submits that he has an extraordinary and

compelling reason for release, including the § 3553(a) sentencing factors, his post-conviction

rehabilitation, and the sentencing disparity created by his current sentence.

        The government has responded to the defendant’s mixed motion and requests that this

court reduce the defendant’s sentence for substantial assistance pursuant to Rule 35.

However, the government opposes the defendant’s motion for compassionate relief under the

First Step Act and application of the Fair Sentencing Act of 2010.

        The court has carefully considered the record before it and conducted an

individualized analysis of the facts and issues raised by the parties. For the reasons which

follow, the defendant’s motion is granted in part and the government’s motion for a reduced

sentence under Rule 35 is granted.

                                    PROCEDURAL HISTORY

        The defendant was one of 16 individuals named in a 27-count Indictment returned by

the Grand Jury in July 2006. The defendant was named in Count 1 and charged with being

a member of a criminal conspiracy to possess with intent to distribute and distribution of 50

grams or more of cocaine base in violation of 21 U.S.C.§ § 841(a)(1), (b)(1)(A), and 846. He

was also charged with additional counts of possession with intent to distribute cocaine base

(Counts 13, 15, 19, and 21).



has generally not appointed counsel in post-judgment motions for compassionate release and will decline to
do so here.

                                                    2
    3:06-cr-00748-JFA       Date Filed 10/15/21     Entry Number 1360        Page 3 of 22




       In August 2007, in accordance with the terms of a written plea agreement

(ECF No. 472), the defendant pleaded guilty to Count 1 of the Indictment. The defendant

stipulated that he had one prior felony drug conviction which had become final and that the

government had properly noticed him with an Information filed pursuant to 21 U.S.C. § 851.

This Information subjected the defendant to a mandatory minimum term of imprisonment of

20 years on Count 1 pursuant to 21 U.S.C. §§ 841(a)(1) and (b)(1)(A). The prior conviction

was from a 2003 arrest for possession with intent to distribute marijuana. Without this prior

conviction, the defendant’s mandatory minimum sentence would have been only 10 years.

       Significantly, in Paragraph 14 of the Plea Agreement, the parties stipulated that the

defendant killed another individual in the course of the conspiracy alleged in Count 1, under

circumstances that would constitute murder under 18 U.S.C. § 1111, had such killing taken

place within the territorial maritime jurisdiction of the United States, such that the defendant

would receive a base offense level of 43, prior to a reduction for acceptance of responsibility.

       At sentencing, the Guidelines were calculated as follows: the defendant was held

accountable for 387.36 grams of crack cocaine, for a base level of 32. He received a 2-level

enhancement for possession of a firearm during a drug trafficking crime which brought the

level up to 34. However, when the murder cross-reference of USSG § 2D 1.1(d)( 1) was

applied, the defendant’s offense level became 43. After a 3-level reduction for acceptance

of responsibility, the resulting total offense level was 40. With a criminal history category

of III, the defendant faced a Guideline range of 360 months to life. In November 2007, this

court sentenced the defendant to 400 months incarceration, with a term of supervised release

                                               3
    3:06-cr-00748-JFA        Date Filed 10/15/21   Entry Number 1360       Page 4 of 22




of 10 years.

       In February 2013, the government filed a motion to reduce the defendant’s sentence

under Rule 35 for substantial assistance. The court granted the government’s motion (which

reduced the defendant’s offense level from 40 to 39) and imposed a new sentence of 324

months.

       The defendant’s projected release date is May 7, 2029. He has been in custody on

these and related charges since January 2006 and has served more than 15 years of his federal

sentence.

       Because the defendant has raised multiple grounds for relief in his motion, the court

will address each in turn.

       A. Motion to Compel a Reduction under Rule 35(b)

       As noted above, the defendant has already received a 76-month reduction in his

sentence as a result of the government’s agreement to reward him for his cooperation. In his

present motion, he seeks a further reduction under Rule 35(b).

       In its sealed response (ECF No. 1356), the government notes that although it cannot

be compelled to file another Rule 35 motion for the defendant, it nonetheless files such a

motion. The government states that the defendant has provided unrewarded substantial

assistance in the investigation and prosecution of other individuals which conforms to the

guidelines and policy statements issued by the United States Sentencing Commission

pursuant to 28 U.S.C. § 994.



                                             4
    3:06-cr-00748-JFA      Date Filed 10/15/21     Entry Number 1360       Page 5 of 22




       The government requests that the court give the defendant an additional 2-level

reduction from an offense level of 39 down to 37. In his reply, the defendant seeks a 3-level

reduction due to the impact that his cooperation has had on him and his family. With a

criminal history category of III, a 2-level reduction would produce a new Guideline range

of 262 to 327 months. The court agrees with the government that a 2-level decrease is

appropriate that a sentence at the low end of the new range is appropriate. However, before

determining the new sentence with the 2-level reduction, the court must also address the

defendant’s other alternative grounds raised in his motion.

       B. First Step Act § 401 and § 851 Enhancement

       The defendant first argues that his sentence enhancement pursuant to 21 U.S.C. § 851

at his original sentencing is no longer valid under current law. Specifically, the defendant

contends that his September 2003 conviction in South Carolina for possession with intent to

distribute marijuana is no longer a felony drug offense, citing Simmons v. United States, 649

F.3d 237 (4th Cir. 2011). The defendant claims he did not serve more than 12 months, and

actually served a probationary sentence for that marijuana conviction.

       As a result of this § 851 enhancement (ECF No. 339), the defendant originally was

sentenced pursuant to 21 U.S.C. §§ 841(a)(1) and (b)(1)(A). And, because the defendant had

one prior felony drug conviction, his mandatory minimum term of imprisonment was 20

years. He argues that if he was sentenced today under the First Step Act (and the provisions

of the Fair Sentencing Act of 2010), he would only be subject to § 841(b)(1)(B) and face a

minimum mandatory sentence of 5 years.

                                             5
    3:06-cr-00748-JFA       Date Filed 10/15/21     Entry Number 1360       Page 6 of 22




        The government appears to concede this argument, noting that the defendant’s prior

conviction would not serve to enhance his statutory penalties because he did not serve more

than a year in prison for that offense. The government also states in a footnote that

amendments under § 401 of the First Step Act were not made retroactive.

        Section 401 of the First Step Act changed both the level of predicate felonies required

for sentence enhancement under 21 U.S.C. § 841(b)(1)(A) and the penalties to which such

predicates subject a defendant. However, these changes apply only to cases where the

offense was committed prior to the enactment of the First Step Act, but a sentence had not

yet been imposed as of the date of the First Step Act. Section 401 is not retroactive. The

defendant was sentenced in 2007— more than 10 years prior to enactment of the First Step

Act in December 2018.          Thus, § 401's changes to the predicate felonies under

§§ 841(b)(1)(B) and 851 do not apply to the defendant’s sentence and the defendant is not

entitled to relief.

        However, the Fourth Circuit has, in other similar circumstances, held that district

courts may apply changes retroactively even when the relevant statute provides that the

change is not retroactive. See United States v. Lancaster, 997 F.3d 171 (4th Cir. 2021) and

United States v. McCoy, 981 F.3d 271 (4th Cir. 2020).

        Were the court to consider the defendant’s sentencing Guidelines without the § 851

enhancement, there would still be no change to his Guideline range. The defendant faced a

total offense level of 40 both before and after the Fair Sentencing Act of 2010 as a result of

the murder cross-reference.

                                               6
     3:06-cr-00748-JFA           Date Filed 10/15/21       Entry Number 1360           Page 7 of 22




        C. First Step Act § 404(b) and Crack Cocaine Offense

        While the defendant does not specifically refer to § 404 of the First Step Act in his

motion, the government states that the defendant pleaded guilty to a “covered” offense and

is eligible for consideration of relief.

        Section 404(b) of the First Step Act of 2018 relates to crack cocaine offenses and

retroactive application of the Fair Sentencing Act of 2010. The First Step Act of 2018 was

signed into law on December 21, 2018.2 One of the changes in the Act relates to the Fair

Sentencing Act of 20103 which, among other things, reduced statutory penalties for cocaine

base (“crack”) offenses.4 Specifically, § 404 of the First Step Act retroactively applies the

reduced penalties under the Fair Sentencing Act to “covered offenses” committed before

August 3, 2010.

        The court that imposed a sentence for a covered offense may on its own or on a

motion of the defendant, the Director of the Bureau of Prisons, or the attorney for the

government, impose a reduced sentence as if the Fair Sentencing Act of 2010 were in effect

at the time the covered offense was committed. A court may not entertain a motion to reduce

a sentence if the sentence was previously imposed or reduced in accordance with the


        2
            Pub. L. 115-015 (S. 756), 132 Stat. 015 (enacted Dec. 21, 2018).
        3
            Pub. L. 111-220; 124 Stat. 2372 (2010).
        4
           Effective August 3, 2010, the Fair Sentencing Act reduced the amount of cocaine base needed to
trigger certain statutory minimum and maximum sentences. See 21 U.S.C. § 841(b)(1)(A)(iii) (raising from
50 to 280 grams the amount of cocaine base needed to trigger statutory range of 10 years to life in prison);
21 U.S.C. § 841(b)(1)(B)(iii) (raising from 5 to 28 grams the amount of cocaine base needed to trigger
statutory range of 5 to 40 years in prison).

                                                      7
    3:06-cr-00748-JFA       Date Filed 10/15/21      Entry Number 1360        Page 8 of 22




amendments made by the Fair Sentencing Act of 2010 or if a previous motion to reduce the

sentence was denied after a complete review of the motion on the merits. Finally, nothing

in the First Step Act shall be construed to require a court to reduce any sentence based on the

First Step Act’s retroactive application of the Fair Sentencing Act of 2010.

       The mechanism for bringing a First Step Act motion is found at 18 U.S.C.

§ 3582(c)(1)(B), which states that a “court may modify an imposed term of imprisonment to

the extent otherwise expressly permitted by statute.” United States v. Wirsing, 943 F.3d 175

(4th Cir. 2019). This court’s authority for granting a First Step Act motion is broad. Under

this provision, “there is no limiting language to preclude the court from applying intervening

case law” when evaluating a First Step Act motion. United States v. Chambers, 956 F.3d 667,

672 (4th Cir. 2020). Furthermore, 18 U.S.C. § 3553(a) “sentencing factors apply in the

§ 404(b) resentencing context.” Id. at 674. Finally, “the resentencing court has discretion

within the § 404(b) framework to vary from the Guidelines and, in doing so, to consider

movants’ post-sentencing conduct.” Id.

       It does not automatically follow, however, that the sentence must be reduced. Indeed,

the First Step Act indicates, in two different sections, that any relief awarded is discretionary

with the sentencing court. Under § 404(b) of the First Step Act, the court “may,” but is not

required to, grant statutory relief. The discretionary nature of the relief is further emphasized

in § 404(c) of the First Step Act. Building on the “may” language in § 404(b), this section

provides that “nothing in the section is to be construed to require a court to reduce any

sentence” under the Act.

                                               8
    3:06-cr-00748-JFA       Date Filed 10/15/21      Entry Number 1360        Page 9 of 22




       In United States v. Collington, 956 F.3d 347 (4th Cir. 2021), the Fourth Circuit

clarified three steps that a district court must take when considering a request for relief under

§ 404(b): (1) accurately recalculate the Guidelines sentence range; (2) correct original

Guidelines errors and apply intervening case law made retroactive to the original sentence;

and (3) consider the § 3553(a) factors to determine what sentence is appropriate. Thus, a

district court must consider a defendant’s arguments, give individual consideration to the

defendant’s characteristics in light of the § 3553(a) factors, determine—following the Fair

Sentencing Act—whether a given sentence remains appropriate in light of those factors, and

adequately explain that decision.

       The Fourth Circuit also clarified in United States v. Lancaster, 997 F.3d 171 (4th Cir.

2021) that a First Step Act proceeding is not intended as a plenary resentencing or complete

or new relitigation of Guideline issues or § 3553(a) factors. Rather, the court must look at

the gaps left from the original sentencing to determine what sentence it would have imposed

under the Fair Sentencing Act in light of intervening circumstances.

       The government posits that because the defendant pleaded guilty to a conspiracy

involving 50 grams or more of crack, and because the applicable penalties for this crime were

substantially modified by the Fair Sentencing Act, the defendant, if sentenced today, would

face the lower penalties associated with § 841(b)(1)(B)—as opposed to (b)(1)(A)—which

corresponds to 28 grams or more of cocaine base and which carries a mandatory minimum

sentence of 5 years with no prior enhancing convictions, and 10 years with one or more prior

enhancing convictions.

                                               9
   3:06-cr-00748-JFA       Date Filed 10/15/21     Entry Number 1360       Page 10 of 22




       The government also states that although the defendant’s statutory range was

previously enhanced based upon a prior conviction for possession with intent to distribute

marijuana, under current law, that prior conviction would not serve to enhance his statutory

penalties, as the defendant did not serve more than a year in prison for the marijuana offense.

       However, as stated at the outset in this order, the defendant’s offense level was not

driven by the drug amounts, but by the murder cross-reference. He was held accountable

for 387.36 grams of crack cocaine for a base level of 32. He received a 2-level increase for

possession of a firearm during a drug trafficking crime, for a new base level of 34. When the

murder cross-reference of § 2D1.1(d)(1) was applied, his offense level was increased from

34 to 43. Then, after a 3-level reduction for acceptance of responsibility, the resulting total

offense level was 40. With a criminal history category of III, the defendant faced a Guideline

range of 360 months to life.

       Therefore, post-sentencing changes to § 851 enhancements do not change the specific

Guideline that drove the defendant’s ultimate sentence—the murder cross-reference. The

only impact the retroactive application of the Fair Sentencing Act has is the reduction of the

defendant’s statutory term of supervised release from 10 years to 8 years.

       D. Motion for Compassionate Release for Health Conditions

       Ordinarily, a court “may not modify a term of imprisonment once it has been

imposed.” 18 U.S.C. § 3582(c); See United States v. Chambers, 956 F.3d 667, 671 (4th Cir.

2020); United States v. Jackson, 952 F.3d 492 (4th Cir. 2020); United States v. Martin, 916

F.3d 389, 395 (4th Cir. 2019). But, “the rule of finality is subject to a few narrow

                                              10
   3:06-cr-00748-JFA        Date Filed 10/15/21   Entry Number 1360        Page 11 of 22




exceptions.” Freeman v. United States, 564 U.S. 522, 526 (2011). One such exception is

when the modification is “expressly permitted by statute.” 18 U.S.C. § 3582(c)(1)(B); See

Jackson, 952 F.3d at 495.

       Commonly termed the “compassionate release” provision, § 3582(c)(1)(A)(i) provides

a statutory vehicle to modify a defendant’s sentence. It was originally adopted as part of the

Sentencing Reform Act of 1984.

       On December 21, 2018, the First Step Act was signed into law. Broadly, the Act’s

goals were to reform federal prisons and sentencing laws to reduce recidivism, decrease the

federal inmate population, and maintain public safety. The First Step Act also expanded the

existing compassionate release provisions of federal law by allowing an inmate to move for

compassionate release himself, rather than allowing only the Director of the Bureau of

Prisons (BOP) to do so. The relevant portion of the First Step Act, codified at 18 U.S.C.

§ 3582(c)(1)(A), as amended by § 603(b) of the First Step Act, provides:

       [T]he court, . . . upon motion of the defendant after the defendant has fully
       exhausted all administrative rights to appeal a failure of the Bureau of Prisons
       to bring a motion on the defendant’s behalf or the lapse of 30 days from the
       receipt of such a request by the warden of the defendant’s facility, whichever
       is earlier, may reduce the term of imprisonment . . . after considering the
       factors set forth in section 3553(a) [of Title 18] to the extent that they are
       applicable, if it finds that . . . extraordinary and compelling reasons warrant
       such a reduction . . . and that such a reduction is consistent with applicable
       policy statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A).

       By its terms, § 3582(c)(1)(A) permits the court to reduce the defendant’s term of

imprisonment after considering the factors set forth in 18 U.S.C. § 3553(a) if the court first

                                             11
   3:06-cr-00748-JFA       Date Filed 10/15/21     Entry Number 1360       Page 12 of 22




finds that (i) extraordinary and compelling reasons warrant such a reduction; and (ii) such

a reduction is consistent with applicable policy statements issued by the Sentencing

Commission. In addition, a district court may not grant a sentence reduction under

§ 3582(c)(1)(A) without considering the § 3553 factors to the extent they are applicable.

United States v. Kibble, 992 F.3d 326, 332 (4th Cir. 2021).

       In United States v. McCoy, 981 F.3d 271 (4th Cir. 2020), the Fourth Circuit agreed

with the Second Circuit in United States v. Brooker, 976 F.3d 228 (2d Cir. 2020) and found

that there is, as of now, no “applicable policy statement governing compassionate release

motions filed by defendants under the recently amended § 3582(c)(1)(A),” and as a result,

district courts are “empowered . . . to consider any extraordinary and compelling reason for

release that a defendant might raise.” McCoy, 981 F.3d at 284 (citing Brooker, 976 F.3d at

230); see also, Kibble, 992 F.3d at 331.

       A defendant’s rehabilitation standing alone does not provide sufficient grounds to

warrant a sentence modification. 28 U.S.C. § 994(t). Also, the defendant bears the burden

to establish that he or she is eligible for a sentence reduction. United States v. Jones, 836

F.3d 896, 899 (8th Cir. 2016).

       In summation, when deciding whether to reduce a defendant’s sentence under

§ 3582(c)(1)(A), a district court generally proceeds in three steps. See United States v. High,

997 F.3d 181, 185–86 (4th Cir. 2021). First, the court determines whether “extraordinary

and compelling reasons” support a sentence reduction. Next, the court considers whether a

sentence reduction is consistent with applicable policy statements issued by the Sentencing

                                              12
   3:06-cr-00748-JFA       Date Filed 10/15/21     Entry Number 1360       Page 13 of 22




Commission. As noted previously in this order and as set out in McCoy, because there is no

applicable policy statement governing compassionate release motions filed by defendants

under the recently amended § 3582(c)(1)(A), district courts are empowered to consider any

extraordinary and compelling reason for release that a defendant might raise. Finally, if the

court finds that extraordinary and compelling reasons warrant relief, the court must consider

the § 3553(a) factors in deciding whether to exercise its discretion to reduce the defendant’s

term of imprisonment. Even if the defendant meets the eligibility criteria for compassionate

release, this court retains discretion as to whether to grant relief. See 18 U.S.C. §

3582(c)(1)(A) (providing the court may reduce the term of imprisonment) (emphasis added).

                          Exhaustion of Administrative Remedies

       Before a court may consider a defendant’s motion for compassionate release, the

defendant must have fully exhausted all of the administrative rights to appeal a failure of the

Bureau of Prisons (BOP) to bring a motion on the defendant’s behalf or the lapse of 30 days

with no answer from the Warden after a request by the defendant, whichever is earlier.

18 U.S.C. § 3582(c)(1)(A). The government does not dispute that the defendant has satisfied

this procedural requirement. Indeed, the defendant has attached a copy of his request for

compassionate release to the Warden and no response was received back.

       As it appears to this court that the defendant has fully exhausted his administrative

remedies, the court will proceed to review the matter on the merits.




                                              13
    3:06-cr-00748-JFA         Date Filed 10/15/21       Entry Number 1360          Page 14 of 22




                                 Defendant’s Medical Condition

        Here, the defendant claims that he suffers from a heart murmur.5 He contends that this

medical condition, coupled with the ongoing COVID-19 pandemic that is especially

prevalent in prison facilities, justifies his release for extraordinary and compelling reasons.

        The mere existence of the COVID-19 pandemic—which poses a threat to every

non-immune individual in the world—cannot independently provide a basis for a sentence

reduction or justify compassionate release. However, COVID-19 is certainly relevant to the

court’s analysis of a § 3582(c)(1)(A) motion for compassionate release. If a defendant has

a chronic medical condition that has been identified by the Centers for Disease Control

(CDC) as elevating an inmate’s risk of becoming seriously ill from COVID-19, it is possible

that such medical condition could satisfy the extraordinary and compelling reasons standard.

As the Third Circuit has held, “the mere existence of COVID-19 in society and the

possibility that it may spread to a particular prison alone cannot independently justify

compassionate release.” United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).

        Rather, the threshold questions are whether the defendant has a particularized risk of

contracting COVID-19 in prison and whether his medical conditions render him particularly

susceptible to severe illness or death should he contract the virus. See United States of

America, v. Andre Youngblood, No. 20-7836, 2021 WL 4167105, at *2 (4th Cir. Sept. 14,

2021) (citing United States v. High, 997 F.3d 181, 185 (4th Cir. 2021)).


        5
          Although the government states that the defendant suffers from both asthma and a heart murmur,
none of the defendant’s motions or briefs refer to the medical condition of asthma.

                                                  14
    3:06-cr-00748-JFA         Date Filed 10/15/21        Entry Number 1360          Page 15 of 22




        The government responds by suggesting that although the defendant claims he suffers

from both asthma and a heart murmur, he provides no evidence of these conditions and the

medical records provided by the BOP from 2019 to present does not mention of either of

these medical conditions.

        While it is true that the defendant’s Presentence Report (PSR) indicated that the

defendant was diagnosed with a heart murmur as a child and was prescribed medications

which he took until he was 12, it is not clear if this condition continued into adulthood. In

addition, as the government suggests, the defendant’s BOP medical records do not reveal the

existence of either of these conditions.

        Moreover, the defendant’s medical condition is not identified by the CDC as

increasing a person’s risk for developing serious illness from COVID-19.

        The government sets forth a comprehensive discussion of the strenuous measures the

BOP is taking to protect the health of the inmates in its charge and to mitigate the risks of

COVID-19. According to the government, the BOP has offered a vaccine to every inmate

in BOP-managed institutions, with the exception of some inmates who were recently

admitted at a facility after the administration of vaccines at that facility. The BOP has

administered a total of 212,350 doses to staff and inmates nationwide.6




        6
           The government notes that at the Federal Correctional Center in Yazoo City, where the defendant
is housed, the BOP has fully vaccinated 360 staff members and 2002 inmates. The government also notes
that the defendant was administered his first dose of the COVID-19 vaccine (Pfizer) on May 7, 2021, and
received the second dose on May 26, 2021.

                                                   15
   3:06-cr-00748-JFA       Date Filed 10/15/21     Entry Number 1360       Page 16 of 22




       For the reasons stated above, the court concludes that the defendant has not

demonstrated an extraordinary and compelling reason for his release on this basis. Moreover,

even if this court were to determine that the defendant had demonstrated an extraordinary and

compelling reason, the court would nevertheless exercise its discretion to decline to order the

defendant’s release or otherwise reduce his sentence. The court makes this determination

after carefully reviewing the facts of the instant case, the defendant’s post-sentencing

conduct, and all of the§ 3553(a) factors.

       Importantly, even if the court were to conclude that the defendant has demonstrated

an “extraordinary and compelling” reason for compassionate release, this court would

nevertheless exercise its discretion not to disturb the defendant’s sentence based upon a

review of the 18 U.S.C. § 3553(a) factors. United States v. High, No. 20-7350, 2021 WL

1823289 (4th Cir. May 7, 2021)(“In any event, if a court finds that a defendant has

demonstrated extraordinary and compelling reasons, it is still not required to grant the

defendant’s motion for a sentence reduction. Rather, it must consider the § 3553(a)

sentencing factors to the extent that they are applicable in deciding whether to exercise its

discretion to reduce the defendant’s term of imprisonment.”)(cleaned up).

       After carefully considering the facts of this case and the defendant’s prior record, the

court concludes that the defendant would present a danger to the community if released now.

In doing so, the court has carefully analyzed and applied all of the § 3553(a) factors to

conclude that the defendant’s sentence is sufficient, but not greater than, necessary to serve

the statutory purposes of sentencing. The court will thus proceed to set out its explanation

                                              16
   3:06-cr-00748-JFA       Date Filed 10/15/21     Entry Number 1360       Page 17 of 22




with regard to the § 3553(a) factors in order.

                            Factors Under 18 U.S.C. § 3553(a)

       1. Nature and Circumstances of the Offense.

       As noted above, the defendant was charged with and pleaded guilty to being a

member of a conspiracy related to the distribution of 50 grams or more of crack cocaine. This

is a serious crime to be sure. However, the crime was even more serious because the

defendant was involved in a drug-related murder when he killed an individual who allegedly

stole drugs from the defendant. Because of this, the murder cross-reference in the Guidelines

was the driving force behind the calculation of the defendant’s sentence, not the amount of

drugs or the § 851 enhancement.

       It cannot be gainsaid that the defendant pleaded guilty to a most serious offense. He

was involved with a large quantity of a dangerous controlled substance that has afflicted

many citizens in South Carolina and elsewhere. Even worse, he murdered a fellow human

being out of a desire to avenge the purported theft of cocaine in the victim’s possession.

       2. History and Characteristics of the Defendant. The defendant was 20 years of age

at the time of his arrest for the instant offense. He has served just more than 15 years of his

current sentence and is scheduled to be released in May 2029. He had one § 851

enhancement (possession with intent to distribute marijuana in 2003) which may no longer

qualify as an § 851 enhancement. His other convictions are relatively minor, and include

failure to stop for a blue light and petty larceny. The defendant’s post-sentencing conduct

is outlined below.

                                              17
    3:06-cr-00748-JFA         Date Filed 10/15/21       Entry Number 1360          Page 18 of 22




        This court acknowledges the defendant’s argument that medical science has shown

that the portion of the brain most tied to executive functioning is not fully mature until well

until a person’s 20s. The frontal lobe is the part of the brain responsible for important

functions such as planning, organizing information, and thinking about possible

consequences of action. This court is mindful and respectful of the argument, but must reject

it under the circumstances of this case. An individual 20 years of age who has not yet

experienced full development of the frontal lobe of the brain may well make foolish

decisions such as those to experiment with illegal drugs or engage in reckless behavior or the

like. However, the severity of taking a fellow human being’s life because that individual stole

dangerous drug from the defendant cannot be excused on immaturity alone.

                                     Post-Sentencing Conduct

        The defendant has earned over 14 certificates for completed programs during his 15

year incarceration, relating to subjects from job preparedness to health and wellness in

general. He earned his GED while at the BOP. He has worked in food service, facility

maintenance, and electrical. He is currently a unit orderly. He has plans to live with an Aunt

in Columbia, South Carolina if released, and purportedly has a job awaiting for him at a

logistics company. The defendant has one teenaged son.

        While in the BOP, the defendant has incurred the following violations.7 In 2010, he

was sanctioned for possessing unauthorized item (level 305) and disallowed 14 days good


        7
         According to the BOP, 100-level offenses are considered the most serious, 200-level offenses are
moderately serious; and 300-level offenses are the least serious.

                                                   18
    3:06-cr-00748-JFA       Date Filed 10/15/21   Entry Number 1360      Page 19 of 22




conduct time and forfeited 7 days of earned good conduct time, was placed into disciplinary

segregation for 15 days, suspended on 180 days clear conduct, lost commissary privileges

for 180 days, and lost phone privileges for 90 days. In January 2011, he was sanctioned for

giving/accepting money without authority (level 328); again, he was disallowed 14 days good

conduct time. He was placed into disciplinary segregation for 15 days, suspended on 180

days clear conduct, lost commissary privileges for 90 days, and lost phone privileges for 30

days. In August 2012, the defendant was sanctioned for possessing unauthorized item (level

305) and lost commissary privileges for 60 days. In May 2018, the defendant was sanctioned

for possessing a non-hazardous tool (tobacco) (level 331); he lost phone and commissary

privileges for 90 days. In July 2018, he was cited for fighting with another person (level

201); he was disallowed 27 days of good conduct credit and lost e-mail privileges for 3

months.

       Most recently, the defendant was sanctioned on September 3, 2020 for being in

unauthorized area (level 316) for which he lost commissary privileges for 30 days. Less than

two months later, he incurred his most serious infraction—he was cited for disruptive

conduct-greatest (Level 199). He was disallowed 41 days good conduct credit and lost

commissary privileges for a year. In total, the defendant has lost 103 days of good conduct

credit as a result of his violations.

       3. Seriousness of the Crimes. As noted, this court regards the defendant’s

crimes as very serious, fully supportive of a significant sentence.



                                            19
   3:06-cr-00748-JFA      Date Filed 10/15/21      Entry Number 1360      Page 20 of 22




       4. Whether the Sentence Promotes Respect for the Law and Just Punishment

for the Offense. The court finds a significant sentence is necessary to promote respect

for the law and just punishment.

       5. Whether the Sentence Affords Adequate Deterrence to Criminal Conduct. The

court finds that a significant sentence is necessary to provide both general and specific

deterrents.

       6. Whether the Sentence Protects the Public from Future Crimes of the Defendant.

The court finds that a significant sentence is necessary to protect the public from future

crimes of the defendant. The defendant has demonstrated his violent and deadly propensities

by taking the life of a fellow human being.

       7. Need to Avoid Unwarranted Sentencing Disparities. There were no co-defendants

in this case with which to compare the defendant’s sentence. However, his sentence is not

out of line with other defendants who have killed other individuals.

                                      CONCLUSION

       For all the foregoing reasons, the court determines that the defendant has not

demonstrated an extraordinary and compelling reason for compassionate relief under

§ 3582(c)(1)(A). Moreover, even if the court were to conclude that the defendant has

demonstrated an extraordinary and compelling reason for release based upon his medical

condition and McCoy, this court would nevertheless decline to modify his sentence. The

court reaches this conclusion after carefully considering the individualized circumstances of



                                              20
   3:06-cr-00748-JFA       Date Filed 10/15/21     Entry Number 1360       Page 21 of 22




the case, as reflected in the § 3553(a) factors, and as supplemented by the defendant’s record

while incarcerated.

       With regard to § 404(b), the court finds that after a recalculation of the Guidelines

range and consideration of the § 3553(a) factors, the defendant is not entitled to relief under

this provision of the First Step Act.

       As to § 401 and the defendant’s challenge to his § 851 enhancement, the court agrees

that even though the defendant’s prior marijuana conviction would not now serve to enhance

his statutory penalties, the murder cross-reference remains in place and this court declines

to reduce his sentence after considering the § 3553(a) factors.

       Finally, the court determines that the defendant is entitled to have his sentence

reduced by virtue of the government’s Rule 35 motion.              The court will grant the

government’s motion (ECF No. 1356) and reduce the defendant’s offense level of 39 by 2

levels and sentence him to the new Guideline level of 37, which produces a range from 262

to 327 months. The defendant’s custodial sentence is hereby reduced from 324 months to

262 months, which is the low end of the Guideline range. The defendant’s term of supervised

release is reduced from 10 years to 8 years. All other terms and conditions of the original

judgment remain in full force and effect.




                                              21
   3:06-cr-00748-JFA       Date Filed 10/15/21   Entry Number 1360     Page 22 of 22




       The clerk may docket the defendant’s motions (ECF No. 1337, 1343) as granted in

part and denied in part.

       IT IS SO ORDERED.


October 15, 2021                                 Joseph F. Anderson, Jr.
Columbia, South Carolina                         United States District Judge




                                           22
